        Case 9:21-cr-00036-DLC Document 35 Filed 11/08/21 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                             CR 21–36–M–DLC

              Plaintiff,

       vs.                                                   ORDER

 ZACHARY JON LINDSAY,

              Defendant.


      Before the Court is United States Magistrate Judge Kathleen L. DeSoto’s

Findings & Recommendation Concerning Plea. (Doc. 31.) Because neither party

objected, they are not entitled to de novo review. 28 U.S.C. § 636(b)(1); United

States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003). Therefore, the Court

reviews the Findings and Recommendation for clear error. McDonnel Douglas

Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir. 1981). Clear

error exists if the Court is left with a “definite and firm conviction that a mistake

has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000).

      Mr. Lindsay is charged with one count of prohibited person in possession of

a firearm and ammunition, in violation of 18 U.S.C. § 922(g)(3) (Count I), one

count of possession of an unregistered firearm, in violation of 26 U.S.C. § 5861(d)

(Count II), one count of possession of a firearm with an obliterated serial number,

                                           1
        Case 9:21-cr-00036-DLC Document 35 Filed 11/08/21 Page 2 of 2



in violation of 26 U.S.C. § 5861(h) (Count III), and one count of possession of a

firearm with an obliterated serial number, in violation of 18 U.S.C. § 922(k)

(Count IV). (Doc. 2.) Judge DeSoto recommends that this Court accept Mr.

Lindsay’s guilty plea as to Count II after he appeared before her pursuant to

Federal Rule of Criminal Procedure 11. The Court finds no clear error in Judge

DeSoto’s Findings and Recommendation and adopts them in full, including the

recommendation to defer acceptance of the Plea Agreement until sentencing when

the Court will have reviewed the Plea Agreement and Presentence Investigation

Report. In light of the United States motion preliminary order of forfeiture (Doc.

33), the Court will address the issue of forfeiture by separate order.

      Accordingly, IT IS ORDERED that Judge DeSoto’s Findings and

Recommendation (Doc. 31) is ADOPTED in full.

      IT IS FURTHER ORDERED that Mr. Lindsay’s motion to change plea

(Doc. 22) is GRANTED.

      IT IS FURTHER ORDERED that Mr. Lindsay is adjudged guilty as charged

in Count II of the Indictment.

      DATED this 8th day of November, 2021.




                                          2
